     Case 1:20-cr-00170-PLM ECF No. 15, PageID.26 Filed 11/05/20 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

        Plaintiff,
                                                           Hon. Paul L. Maloney
v.
                                                           Case No. 1:20-cr-00170
JEFFERY ALLEN KAISER,

      Defendant.
________________________________/
                                      ORDER


       Defendant appeared before me on November 5, 2020, with appointed counsel

for a detention hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). After

being advised of his rights, including those attendant to a detention hearing,

defendant waived his right to the hearing. I find that his waiver was knowingly and

voluntarily entered.

       Accordingly, IT IS ORDERED that defendant is committed to the custody of

the Attorney General pending trial.

       DONE AND ORDERED on November 5, 2020.




                                              /s/ Phillip J. Green
                                             PHILLIP J. GREEN
                                             United States Magistrate Judge
